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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN DOE
c/o Laffey, Bucci & Kent, LLP
1435 Walnut Street, 7th Floor
Philadelphia, PA 19102
Plaintiff

v. : NO.
VALLEY FORGE MILITARY
ACADEMY AND COLLEGE
1001 Eagle Road

Wayne, PA 19087
Defendant

DEFENDANT’S
NOTICE OF REMOVAL

Please take notice that, pursuant to 28 U.S.C. §l44l, Defendant, Valley Forge
l\/lilitary Academy and College (“VFMAC”), by and through its counsel, Riley, Riper,
Hollin and Colagreco, hereby removes the action captioned as John Doe v. ValleV Forge
Militarv Academy and Colle,<.ze, No. 2804 April Term 2019, as filed in the Court of
Cornrnon Pleas, Philadelphia, Pennsylvania (the “Action”), to the U.S. District Court for
the Eastern District of Pennsylvania, based upon the following

l. Plaintiff John Doe is, and alleges in the action, that he is a resident of Ohio.
(_S_e_e, 111 of the Cornplaint.)

2. VFMAC is a citizen and resident of the Cornmonwealth of Pennsylvania.

1010483.1

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3. Plaintiff filed his Complaint on April 17, 2018, With the Philadelphia Court of
Common Plcas. A true and correct copy of PlaintifF s Complaint is attached hereto as
Exhibit “A”.

4. Plaintiff has not yet served the Complaint upon Defendant.

5. No acceptance of the Complaint, formal or informal, for the purpose of service
has been made, or offered, occurred

6. Therefore, removal to this Court is proper. See, e.g., Encompass Insurance
Companv v. Stone Mansion Restaurant, Inc., 902 F.3d 147 (3d Cir. 2018).

7. This Notice of Removal Was timely filed Within thirty (30) days of the date that
Plaintiff’s Complaint Was filed with the Court of Common Pleas of Philadelphia County,
Pennsylvania

8. Thus, this Notice of Removal is timely under 28 U.S.C. §1446(b)(1).

9. All Defendants (i.e., the only Defendant in the casc) have joined on the
removal of this action to federal court. 28 U.S.C. §l446(b)(2)(A).

10. Pursuant to 28 U.S.C. §l446(d), Defendant Will give Written notice of removal
to Plaintiff and Will file a copy of this Notice of Removal With the Clerk of the U.S.
District Court for the Eastern District of Pennsylvania and Will file the Notice of Removal

With the Prothonotary of the Philadelphia County Court of Common Pleas.

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WHEREFORE, Defendant, VFMAC, notifies this Court that this action is
removed from the Court of Common Pleas for Philadelphia County, Pennsylvania to the

U.S. District Court for the Eastern District of Pennsylvania, pursuant to the provisions of

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By: /D///\’( H/
'/GeorgeiB.¢iK/andolph, Esquire/#39278
Attorney for Defendant
717 Constitution Drive, Suite 201
Exton, PA 19341
(610) 45 8-4400

george@rrhc.com

28 U.S.C. §1441 and 1446.

 

Datc: Ap_ril 18, 2019

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EXHIBIT “A”

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LAFFEY, BUCCI & KENT, LLP
IDENTIFICATION NO.: 94221/208905/313516
BRIAN D. KENT /GAETANO D’ANDREA/
M. STEWART RYAN

1435 Walnut Street, Suite 700
PHILADELPHIA, PA 19102

(215) 399-9255

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ATTORNEYS FOR PLAINTIFFS

 

 

 

 

 

 

JOHN DOE
c/o Laffey, Bucci & Kent, LLP PHILADELPHIA COUNTY
1435 Walnut Street, 7‘1‘ Floor COURT OF COMMON PLEAS
Philadelphia, PA 19102 LAW DIVISION

Plaimiff’ APRIL TERM, 2019

v.
No.

VALLEY FORGE MILITARY ACADEMY
AND COLLEGE .TURY TRIAL DEMANDED
1001 Eagle Road
Wayne, PA 19087

Defendants.

NOTICE TO DEFEND
NorlcE “Aviso

“You have been sued in court. If you wish to defend against the claims set
forth in the following pages, you must take action within twenty (20) days
after this complaint and notice are served, by entering a written appearance
personally or by an attorney and filing in writing with the court your defenses
or objections to the claims set forth against you, You are wamed that if you
fail to do so the case may proceed without you and a judgement may be
entered against you by the court without further notice for any money claimed
in the complaint or for any other claim or relief requested by the plaintiff
You may lose money or property or other rights important to you.

“YOU SHOU`LD fAKE THIS PAPER TO YOU LAWYER AT ONCE. IF
Y()U DO NOT HAVE A LAWYER OR CANNO'I' AFFORD ONE, GO TO
OR TELEPHONE THE OFFICE SET FORTH BELGW TO FlND OUT
WHERE YOU CAN GET LEGAL HELP.

PHILADELPHIA BAR ASSOCIATION

LAWYER REFERKAL and INFORMATION SERVICE
One Reading Center

Philadelphia, Pennsylvania 19107

(215) 238-1701"

 

“Le han demandado a usted en la corte. Si usted quiere defenderse do
estas demandas expuestas en las paginas siguicnts, usted tiene veinte
(20) dias, de plazo al partir de la fecha de la demanda y la notification
Hace falta asentar una comparenca escrita o en persona 0 con un
abagado y entregar a la corte en forma escrita sus defensas o sus
objecciones a las demandas en contra de su persona. Sea avisado que si
usted no de defiende, la corte tomara medidas y puede continuar la
demanda en contra suya sin prcvio aviso o notificaion. Ademas, la cone
puede decidir a favor del demandante y requiere que usted cumpla con
todas las provisiones de esta demanda. Usted puede perder dinero o sus
propiedades u otros derechos importantes para usted,

"LLEVE ESTA DEMANDA A UN ABOGADO B\IMEDIATAMENTE.
SI NO TIENE ABAGADO 0 SI NO TIENE EL DINERO
SUFlClENTE DE PARGAR TAL SERVICO, VAYA EN
PERSONA 0 LLAME POR TELEFONO A LA OFICINA CUYA
DIRECCION SE ENCUENTRA ESCRITA ABAJO PARA
AVERIGUAR DONDE SE PUEDE CONSEGUIR ASlSTENClA
LEGAL

ASSOCIACION DE LlCENDIADOS DE FILADELFIA

SERVICO DE REFERENCA E INFORMACION LEGAL

One Reading Center

Filadelfra Pennsylvania 19107

Telefono: (215) 238-1701”

COMPLAINT - CIVIL ACTION

l. The plaintiff, John Doe, (fictitious, anonymous name), is an adult individual

residing in the State of Ohio. Plaintiff’s name and address are not contained in this Complaint so

as to protect the privacy and identity of John Doe, Who is a victim of crime and incurred injuries

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and damages of a sensitive nature as a child as a result of the acts and failures of defendant outlined
below. Plaintiff may be contacted through his counsel as outlined herein.

2. There exists good cause for plaintiff to use pseudonyms due to the harmful effect
of the public disclosure of his identity and the harm inflicted upon John Doe and his family to date
as a result of false statements made public by defendant regarding this matter. Plaintiff, John Doe,
has personally verified the facts as set forth in this Complaint as evidenced by the attached
Verification. Defendant is aware of plaintiff’ s identity and suffers no prejudice as a result of
concealing his identity in the Complaint and Verifications.

3. Defendant, Valley Forge Military Academy and College (hereinafter referred to as
“VFMAC”) is a Pennsylvania corporation with a registered business address of 1001 Eagle Road,
Wayne, PA 19087-3695. It is authorized to do business and is doing business in the
Commonwealth of Pennsylvania as a private institution, operating as an elite military school,
grades seven (7) through twelfth (12“1) grade, of which Plaintiff attended beginning in twelfth
(12th) grade. VFMAC is also a co-educational two~year private college enrolling student in
programs which lead to AA, AS, or ABA degrees

4. At all relevant times hereto, VFMAC was acting by and through their duly
authorized actual and/or apparent agents, servants and employees, in particular, their head of
school, board of directors and/or trustees, teachers, dean of students, supervisors and/or coaches,
acting within the course and scope of their actual and/or apparent agency and/or employment

5 . At all relevant times, Colonel John C. Church, Jr., USMCR (hereinafter “Church”)
was President and an employee of VFMAC beginning on or about June 1, 2016. At relevant times,
Church also served as the chief executive officer of VFMAC with responsibility for over one~

hundred fifty employees

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6. At all relevant times, Sandra Young was head of school of VFMAC and was an
employee of VFMAC working in the course and scope of her employment with VFMAC.

7. At all relevant times, William R. Floyd, Jr. was Chairman of the Board of Trustees
of VFMAC and was an employee of VFMAC working in the course and scope of his employment
with VFMAC.

8. ln addition to the direct claims against VFMAC, VFMAC is vicariously liable to
Plaintiff for injuries sustained as a result of negligence, gross negligence, outrageous conduct
and/or reckless misconduct, as described further herein, of persons or entities whose conduct was
under their control, or right to control, specifically, their board of directors/trustees John English,
William R. Floyd, Jr., Sandra Young and Colonel John C. Church, Jr., and whose conduct directly
and proximately caused Plaintiff"s injuries Moreover, Defendant VFMAC ratified the actions of
TAC Officers employed by VFMAC, thereby making them vicariously liable for those acts

9. Venue is proper in Philadelphia County pursuant to Pa. R. C. P. 2179(a)(2) as
VMFAC regularly conducts business within Philadelphia County through, including but not
limited to, its various partnerships with Philadelphia entities and schools, as well as Pa. R. C. P.
2179(a)(3) and (a)(4) as the statements at issue in Plaintiff`s defamation/false light claims below
were published and disseminated throughout Philadelphia County by Philadelphia publications.

Introduction

10. For decades, there has been a national epidemic of child abuse among military
academies throughout the country perpetuated by both teachers, administrators and students alike.
Cadets and midshipmen at Army, Navy and Air Force academies in the United States formally
reported 117 sexual assaults in the 2017-2018 school year, and a total of 747 students have said

they received unwanted sexual contact, a nearly fifty (50) percent increase from two years prior.

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11. This statistic, however, represents only a fraction of the abuse as many instances
go unreported, even in cases where abuse is known and/or suspected to have occurred This statistic
also does not fully represent the rampant student on student hazing and abuse that occurs
throughout youth, high school and college programs often with the acquiescence and/or deliberate
ignorance of employees and supervisors

12. The matter at hand is about an internationally renowned military academy with a
history of pervasive child abuse of youth that has occurred over decades under the watch of
numerous administrators Under Colonel John C. Church, Jr. and Sandra Young, child students at
VFMAC were physically, mentally and/or sexually abused by youth participants and a culture of
tolerance of abuse Was enabled and furthered by Church and his staff, evidenced by their continued
failure to report and/or prevent suspected, reasonably knowable and/or known child abuse.

13. Despite the confirmation of “many” incidents of abuse that occurred under
numerous administrators VFMAC outrageously and unconscionably allowed abuse to continue
and chose not to alert the public at large to their findings and/or dangers associated with boarding
at VFMAC or take any remedial measures whatsoever to prevent future abuse from occurring

14. This lawsuit is also about VFMAC’s failure to protect plaintiff and other children
from severe and pervasive abuse that was rampant for years perpetrated by both employees and
students the blatant refusal of their employees to report known and/or suspected child abuse that
was being or had been committed upon a student at VFMAC, of which they knew or should have
known and the unconscionable and outrageous conduct of VFMAC in retaining employees after
knowing of multiple instances of abuse involving multiple teachers/students/children in VFMAC,

thereby again exposing children, including plaintiff, to known danger.

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15 . This lawsuit is also about VFMAC’s attempts to impede investigations by
VFMAC’s employees including but not limited to Title IX Officers, and VFMAC’s failure to
correct same in order to preserve VFMAC’s public reputation at the expense of a minor students
namely, plaintiff, and the horrific mental and emotional abuse, harassment, and ridicule suffered

by plaintiff as a result.

Factual Background

16. By way of background, John Doe was an average teenager who struggled socially
in middle school and through high school. As a result, in on or about November 2015, while in

eleventh grade, John Doe’s psychologist suggested John Doe attend military school, as he would

benefit from a ranking system.

17. For the Spring Academic Semester of 2016, John Doe enrolled in Howe Military
Academy located in Howe, lndiana. Howe Military Academy was a private, co-educational and
college preparatory boarding school located in Northeast lndiana. On or about March 18, 2019,
Howe Military Academy announced it will be closing its doors due to operational and fiscal

challenges

18. On or about August 1, 2016, John Doe enrolled at VFMAC. Immediately upon
being integrated into VFMAC, plaintiff was subjected to physical and mental abuse that other

children had been forced to suffer for decades at VFMAC.

19. On or about October 1, 2016, John Doe is assaulted in a classroom at VFMAC by
Juvenile Perpetrator # 1 while a teacher is in the room. The assault is videotaped by a cadet at

VFMAC. An employee of VFMAC contacts John Doe and/or his parents to request that the

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incident being handled “in-house” because said Juvenile Perpetrator #1 has “a promising future”

despite the Radnor Township Police Department urging John Doe to file a complaint

20. Not long after John Doe was injured in the incident in October 2016, amazingly,
the staff continued to put John Doe in danger allowing the bullying, physical abuse, harassment,
and humiliation to continue. ln fact, inexplicably and unconscionably, despite the fact that the
administration knew about the history of abuse and hazing under numerous administrators the

bullying was allowed to continue

21. Specifically, cadets at Valley Forge Military Academy would severely degrade
other cadets in the program, including but not limited to physical and emotional assaults on John
Doe. On numerous occasions other cadets would create songs about John Doe to embarrass

humiliate, and antagonize John Doe. This type of bullying was common place at VFMAC.

22. On or about December 3, 2016, John Doe’s roommate has a party in their shared
dormitory. During a phone call during said party, John Doe’s roommate tells his girlfriend that he

is going to assault John Doe. Other cadets begin to steal and hide John Doe’s belongings

23. VFMAC staff, who should have been helping John Doe and/or reporting the
harassment to the administration and/or doing something to protect the kids while under the
supervision of VMFAC, incredibly did nothing to stop the abuse John Doe was enduring after the
incident and John Doe feared for his safety. When John Doe would return to the dormitories after

class and/or other activities he noticed that cadets were stealing his things

24. On or about December 4, 2016, John Doe informs his parents concerning the

bullying that has been occurring, cadets have been stealing from him, and that he “needs to change

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rooms.” Shockingly, VFMAC had failed to stop, or take any action to prevent, the abuse John

Doe was enduring despite abuse being reported to VFMAC administration and employees

25. On or about December 13, 2016, John Doe is informed that his “roommate got
kicked out” as a direct and proximate result of John Doe enduring continued physical,

phycological, and mental abuse by his roommate, and other cadets at VFMAC.

26. On or about January 31, 2017, VFMAC recognize the harassment John Doe is
enduring, and his environmental science and physic teachers promise “they will make sure he isn’t

39

bullied anymore. Astonishingly, the assaults harassment, humiliation, bullying, and abuse of

John Doe continued

27. John Doe remained in constant fear and in a state of psychological unrest, being
afraid to speak up in fear of the VFMAC staff and other cadets while remaining in fear of threats
and/or assaults John Doe was made aware of an incident at VFMAC when a thirteen year old
cadet informed VFMAC staff that he was being bullied, harassed, and humiliated by other cadets
Cadets would later break into the cadet’s room and branded him with a “B,” for “bitch.” Not

surprisingly, the cadet never spoke up again.

28. On or about February 1, 2017, John Doe was injured when cadet, Juvenile
Perpetrator # 2 violently slammed John Doe’s head into a wall. John Doe was afraid to tell anyone
because he “knew they wouldn’t do anything.” VFMAC allowed, and promoted, a culture that

allowed minor cadets to be continually bullied, harassed, and humiliated

29. Amazingly, no one at VFMAC reported any of the reports of abuse that had

occurred thus far to authorities despite their obligation to do so, thereby directly and

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continuously endangering the safety of cadets and ratifying the conduct of cadets assaulting
John Doe.

30. On or about Febiuary 3, 2017, John Doe requests VFMAC provide a “safe space”
due to the relentless assaults and bullying. VFMAC TAC Officer Romonav tells John Doe that he
does not need a safe space and dormitories are assigned by way of the ranking system at VFMAC.

31. As a result of bullying, John Doe was moved into another room and was without a
roommate for a short period of time. The assaults decreased temporarily However, Cadets began
to abuse John Doe both physically and mentally, and the abuse increased as time passed John
Doe was teased, ostracized, and physically abused, including but not limited to “whipping” cans
of shaving cream in the shower.

32. On or about February 25, 2017, John Doe is subjected to a violent assault by other
cadets at VFMAC while in the dormitory room of another cadet. Approximately six cadets
including but not limited to Juvenile Perpetrator #3, locked John Doe in the dormitory room. John
Doe is repeatedly and violently hit with a lacrosse stick. John Doe’s mouth is forced open and a
lacrosse stick is forcibly forced into his mouth, as far as possible.

33. VFMAC cadets then attempt to penetrate John Doe anally with the same lacrosse
stick, through his clothes This violent assault is so common at VFMAC that cadets have named
it “tooth pasting.” According to a former cadet, tooth pasting is “somewhat of a[n] initiation at
VF. lt consists of someone putting a stick in someone’s butt (pants on).” In describing this “ritual”
the same cadet admitted to an episode where he and another cadet picked up a nearby broom handle
and shoved the broom handle into another cadet’s “ass”

34. Shockingly, John Doe had to endure further assaults John Doe’s hands and legs are

restrained Cadets covered his eyes and begin striking him with belts Cadets “water boarded”

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John Doe by covering his face and pouring water on his face and mouth to simulate drowning
Cadets attempted to hang John Doe from the door in his dormitory using his restrained arms and
legs John Doe was left screaming while hanging restrained and blindfolded from the door. lt was
approximately twenty (20) minutes until someone found him. Simply put, John Doe was tortured

35. On or about February 26, 2017, John Doe leaves his dormitory to shower in a
communal bathroom. Cadet Juvenile Perpetrator #4 steals John Doe’s towel while he is
showering. Juvenile Perpetrator #4, and other cadets throw lohn Doe’s towel into a mop bucket,
and then pee on it. Juvenile Perpetrator #4, and other cadets begin throwing objects into the
shower, including but not limited to a shaving cream can that strikes John Doe’s ankle and
explodes. lohn Doe is bruised, cut, in pain, and humiliated once again.

36. From the outset, John Doe was subjected to abuse that no child, especially a child
as young as sixteen (16) years~old, should be subjected to. He was continuously and repeatedly
called vulgar names; was told he was worthless and “a bitch.” John Doe was hit and punched in
the dormitory before, during and after class was slammed into walls and would be kicked and
kneed in the stomach.

37. On or about February 26, 2017, lohn Doe reports the incident and bruising to
VFMAC TAC Officer Matthew Schmidt. VFMAC TAC Officer Matthew Schmidt states “he is
going to handle it.” Under the supervision and in the charge and care of Major Schmidt, John Doe
has been repeatedly attacked Despite knowing there was a problem with bullying and despite the
abuse that John Doe was suffering, the staff placed John Doe in situations that permitted the abuse
to continue for months There were never any room checks or supervision by VFMAC staff to

stop the abuse despite VFMAC’s knowledge of the problem.

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38. Although required to report this to the administration pursuant to VFMAC’s policy,
it was either never reported by Major Schmidt or other members of the staff because it was
accepted as part of the culture in the program or it was reported to the administration who
knowingly and deliberately ignored same. Regardless of who consciously disregarded the safety
of the cadets there was absolutely no corrective action, punishment or preventative measures taken
to ensure it never happened again.

39. l\/fajor Schmidt, who should have been helping John Doe and/or reporting cadets to
the administration and/or doing something to protect the kids at VFMAC, incredibly never
informed John Doe’s parents On or about February 27, 2018, lohn Doe informs his parents of the
abuse and showed his parents his bruises John Doe’s parents were shocked, alarmed and
extremely concerned

40. On or about March 1, 2017, John Doe’ parents visit VFMAC to address the
continued abuse and bullying endured by John Doe. lohn Doe, and his parents participate in a
meeting with various VFMAC administrators and staff, including but not limited to Sandra Young
and James Young, the interim Commander of Cadets at VFMAC.

41. Although mandated to immediately report the abuse pursuant to Pennsylvania law,
VFMAC chose not to immediately report it to law enforcement lnstead, VMFAC added fuel to
the fire of the hell that John Doe was in as a result of VFMAC’s deliberate and callous indifference
to the cadets including, but not limited to plaintiff

42. On l\/larch l, 2017, John Doe and his parents met with the Radnor Township Police
Department to address the assaults for the first time. John Doe, with his parents meet with Officer
Nick Laffredo of the Radnor Township Police Department located in Radnor, Delaware County,

Pennsylvania Shortly thereafter, Juvenile Perpetrators #2-4 are charged with assaulting lohn Doe.

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The Juvenile Perpetrator conceded to the assaults described herein, and agreed to participate in
alternative forms of punishment through the juvenile justice system.

43. As a result of the actions/inactions of VFMAC, in March 2017 John Doe reached
his breaking point, wanting to quit school. He was unable to attend school for the remainder of the

year and was forced to complete his courses through remote instruction

44. Upon John Doe’s departure from VFMAC in March 2017, the Mainline Media
News company published a story on March 9, 2017 detailing a history of abuses at VFMAC. ln a
deliberate effort to hide decades of abuse at VFMAC, Mary Heller, a spokeswoman for VFl\/IAC
issued a statement to Mainline Media News giving categorically false statements about prior
investigations leading up to his absence, stating that “Whenever our administration is made aware
of an incident, we follow the proper protocol. We take every allegation seriously and investigate

each thoroughly” and implying VFMAC had followed proper protocols which is untrue.

45 . Robert Wood, a former VFMAC employee and Title Xl officer, filed a federal Title
Xl Complaint for incidents he contends are a systemic problem at VFMAC, according to the March
9, 2017, article published in Mainline Media News The article details numerous incidents at
VFl\/IAC, which went unreported, including but not limited to describing a hazing ritual among

high school age students called “tooth pasting,” which was previously described herein.

46. John Doe became despondent, severely depressed and needed medical intervention
As such, he began treating with a psychologist and psychiatrist and was forced to take several anti-
depressants merely to function on a regular basis

47. Prior to undergoing the abuse described above, lohn Doe was a healthy, typical

teenage boy. He was all but guaranteed acceptance to an accredited four year college. Today, he

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suffers emotionally and socially, no longer garners interest from college programs as a result and
is dependent on treatment and medication to function.

COUNT I -NEGLIGENCE
Plaintiff v. Defendant

48. Plaintiff incorporates paragraphs 1-47 as if they were set forth fully herein.

49. Defendant VFl\/IAC knew, had reason to know, or were otherwise on notice of the
unlawful conduct of students and individual employees who failed to protect the safety of children
in their program, including plaintiff Yet VFMAC failed to take reasonable steps and failed to
implement reasonable safeguards to prevent acts of unlawful abuse, harassment, etc. in the future
by VFMAC employees and students including but not limited to, preventing or avoiding
placement of John Doe in functions or environments in which he would be endangered

50. Furthermore, at no time during the periods of time alleged did VFMAC have in
place a system or procedure to supervise and/or monitor Juvenile Perpetrators # 1~4 or or other
members of VMFAC to ensure that children, including John Doe, were not abused

51. Moreover, as set forth above, the incidents of abuse on VFMAC’s campus were
neither isolated nor unusual. For years VFMAC failed to reprimand, punish, report, or otherwise
sanction Juvenile Perpetrators # 1-4, students employees and/or other members of the staff which
it knew or had reason to know were a danger to children in the dormitories including John Doe.
VFMAC’s knowing acquiescence and silence with respect to the known, or reasonably knowable,
activities of Juvenile Perpetrators # 1~4, and other cadets who included John Doe, constituted a
course of conduct through which acts of violence and mental torment and the violation of the
sanctity of children were condoned, approved, and effectively authorized

52. Through its failure to timely reprimand and sanction the acts referenced above, and

for all of the other reasons set forth herein including without limitation, its failure to take the steps

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necessary to prevent the occurrence of such reprehensible acts VFMAC ratified said actions and,
accordingly, is vicariously liable for the actions of the individual employees including Col. John
J. Church, Jr. and Sandra Young.

53. Moreover, VFl\/IAC had a duty to protect John Doe when he was entrusted to their
care by his parents John Doe’s care, welfare, and/or physical custody were temporarily entrusted
to VFMAC, and VFMAC voluntarily accepted the entrusted care of Plaintiff. As such, VFMAC
owed John Doe, a minor child, a special duty of care, in addition to a duty of ordinary care, and
owed John Doe the higher duty of care that adults dealing with children owe to protect them from
harm.

54. As set forth above, VFMAC, through their agents and/or employees subjected
Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’s rights VFMAC knew or
reasonably should have known that TAC Officers Schmidt, Romonav, and other members of the
TAC Officer staff were unfit agents

5 5. lt was foreseeable that if VFMAC did not adequately exercise or provide the duty
of care owed to children in their care, including, but not limited to J olin Doe, the children entrusted
to the VFMAC’s care would be vulnerable to abuse.

56. For years prior to the abuse of plaintiff, as set forth herein, VFMAC knew or had
reason to know that kids in VFMAC were being abused which was facilitated by the culture and
environment created and allowed by the staff.

57. VFMAC knew, and/or should have known, that those individuals who had abused
others or who allowed same to occur were likely to commit further acts of abuse/allowance of

abuse in the future. VFMAC owed to the public in general, and to John Doe in particular, a duty

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to reasonably identify, remove, and/or report (to law enforcement authorities and/or to parents)
individuals who it knew, or should have known, were abusing other kids or allowing same to occur.

58. VFMAC owed to the public in general, and to John Doe in particular, a duty to
reasonably supervise and/or monitor individuals who it knew, or should have known, were abusing
others or allowing abuse to occur.

59. Having taken custody of John Doe (who, at the time of all of the events at issue
here was under the age of eighteen (18)) under circumstances such as to deprive him of his
entitlement to safe care and protection, VFMAC owed to John Doe a duty to aid and/or protect
him and to control the actions of third parties including but not limited to Juvenile Perpetrators #
1-4, and others as set forth in Restatement (Second) of Torts §§ 314A(4), 315.

60. VFMAC did not have in place (or failed to enforce) adequate, reasonable, and
necessary rules regulations policies and procedures which could effectively identify (and deal
with) abuse that was occurring

61. Despite actual knowledge of cadets abusing John Doe, he was continually subjected
to abuse despite the foreseeable risk that cadets would engage in repeated acts of abuse, VFMAC
did not have in place (or failed to enforce) adequate, reasonable, and necessary rules regulations
policies and procedures which could effectively identify, and deal with individuals like Juvenile
Perpetrators # 1-4, and others who were abusing or allowing the abuse of children.

62. VFMAC did not have in place adequate, reasonable, and necessary rules
regulations policies and procedures for the removal of students/employees who were allowing
abuse to occur in their program and who were in the employ and/or service of VFMAC, for the
reporting of abuse to criminal or other authorities or for the reporting to parents of children enrolled

at VFMAC who were subjected to abuse.

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63. As discussed above, VFMAC failed to fulfill its legal duty to protect John Doe from

the depraved acts outlined above. Moreover, VFMAC failed to take the reasonable steps to ensure

that teachers administrators coaches and employees were psychologically fit to supervise,

instruct, and mentor children in its school by:

3..

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Failing to prohibit, restrict, or limit the activities of employees who
allowed of further abuse/hazing and/or failed to report same;

Failing to reasonably and properly investigate allegations of hazing and/or
child abuse;

Failing to properly train and instruct its coaches and employees

Failing to have in place standards of acceptable and unacceptable conduct;
Failing to designate competent investigators to evaluate complaints of
abuse;

Failing to have in place standards for reporting acts of
misconduct/abuse/hazing to law enforcement or other authorities parents
and/or administrators

Permitting Juvenile Perpetrator #l to abuse a minor student/cadet on the
premises of VFMAC during school hours and elsewhere;

Permitting Juvenile Perpetrator #2 to abuse a minor student/cadet on the
premises of VFMAC during school hours and elsewhere;

Permitting Juvenile Perpetrator #3 to abuse a minor student/cadet on the
premises of VFMAC during school hours and elsewhere;

Permitting Juvenile Perpetrator #4 to abuse a minor student/cadet on the
premises of VFMAC during school hours and elsewhere;

Permitting Juvenile Perpetrators #i-4 to violate Pennsylvania criminal
statutes

Failing to properly and adequately supervise and discipline its employees
to prevent the abuse that occurred to Plaintiff;

. Failing to adopt, enforce and/or follow adequate policies and procedures for

the protection and reasonable supervision of children who attend VFMAC,
including Plaintiff, and, in the alternative, failing to implement and comply
with such procedures which had been adopted;

Failing to implement, enforce and/or follow adequate protective and
supervisory measures for the protection of students at VFMAC, including
Plaintiff;

Creating an environment that facilitated abuse on Plaintiff;

Failing to adopt, enforce and/or follow policies and procedures to protect
minors against harmful influence and contact by its employees and
Participants, including Col. John J. Church, Jr., Sandra Young, and others
Breaching the duties imposed by Restatement (Second) of Torts, § 324A,
as adopted in Pennsylvania;

Failing to warn Plaintiff of the risk of harm posed by Juvenile Perpetrators
#1-4 and others after Defendants knew or should have known of such risk;

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s Failing to provide Plaintiff with any assistance in coping with the injuries
sustained;

t. Violation of duties imposed by Restatement (Second) of Agency § 213 and
Restatement (Second) of Torts § 317, as adopted in Pennsylvania;

u. Failing to warn Plaintiff of the risk of harm that Plaintiff may suffer as a
result of further contact with Juvenile Perpetrator #1-4 and others

v. Failing to warn or otherwise make reasonably safe the property which
Defendants possessed and/or controlled leading to the harm of Plaintiff;

w. Failing to adopt/implement and/or enforce policies and procedures for the
reporting to law enforcement, Office of Children and Youth, or other
authorities within VFMAC and/or other external and independent
authorities of harmful acts to children;

x. Failing to report Juvenile Perpetrators #1-4, and others harmful acts to
authorities within VFMAC and/or other authorities

y. Violating its own policies and/or by-laws regarding child abuse and/or
harassment by staff and/or students;

z. Violating the requirements of Pennsylvania’s Child Protective Services
Law, 23 § 6311(a) and (b), constituting negligence per se;

aa. lgnoring, concealing or otherwise mitigating the seriousness of the known
danger that Juvenile Perpetrators #1-4, and others posed;

bb. Failing to prevent the repeated and continued abuse that was committed on
Plaintiff;

cc. Failing to properly supervise and/or discipline its employees

dd. Failing to adequately and properly train its employees regarding abuse of
students by teachers and/or employees and

ee. Negligently managing and/or operating VFMAC.

64. As a result of the negligent, intentional, outrageous wrongful, deliberately and

recklessly indifferent and unlawful conduct of Defendant, Plaintiff, John Doe, suffered severe

injuries and damages including but not limited to:

psychological injuries and conditions

psychiatric injuries and conditions

severe and permanent injuries as describe in the medical records of plaintiff;
past pain and suffering

a. panic attacks

b. sleeplessness;

c. loss of appetite;

d. bruising and abrasions;
e. permanent scarring;

f. nausea;

g. post-traumatic stress disorder;
h. depression;

i. anxiety;

j.

k.

l.

m.

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future pain and suffering;
past medical expenses
future medical expenses
past mental anguish;
future mental anguish;
loss of earning capacity;
embarrassment;
humiliation; and

loss of life’s pleasures.

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65. John Doe has dysphoric mood and persistent anxiety. He has trouble falling asleep,
staying asleep, impaired concentration loss of energy and recurrent nightmares as a result of post-
traumatic stress disorder. He has been routinely punched and hit with closed fists harassed,
subjected to daily verbal and physical abuse, tied up, sexually assaulted, and has been continuously
threatened while a cadet at VFMAC. Other cadets began to reject and exclude John Doe during
events and daily functions causing John Doe to become more isolated, depressed and
overwhelmed, also feeling emotionally cut off from others intense anxiety, intrusive thoughts
related to the experienced abuse.

66. At all relevant times Defendants owed a duty to maintain a safe environment for
the cadets at VFMAC, specifically Plaintiff.

67. At all relevant times Defendants had a duty to protect and safeguard Plaintiff from
hurt, harm and danger while he was under their supervision

68. At all relevant times Defendants had a duty to ensure that its employees were not
abusing its minor students and/or participants

69. At all relevant times Defendant had a duty to ensure that students at VFMAC were
not abusing other students/participants

70. At all relevant times Defendant had a duty to provide for Plaintiff‘s basic human

needs including the safety of his person

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71. The negligent, reckless intentional, outrageous deliberately and recklessly
indifferent and unlawful conduct of Defendants as set forth above and herein, consisted of among

other things:

a. Failing to prohibit, restrict, or limit the activities of employees who
allowed of further abuse/hazing and/or failed to report same;

b. Failing to reasonably and properly investigate allegations of hazing and/or
child abuse;

c Failing to properly train and instruct its coaches and employees

d. Failing to have in place standards of acceptable and unacceptable conduct;

e. Failing to designate competent investigators to evaluate complaints of
abuse;

f. Failing to have in place standards for reporting acts of
misconduct/abuse/hazing to law enforcement or other authorities parents
and/or administrators

g Permitting Juvenile Perpetrator #1 to abuse a minor student/cadet on the
premises of VFMAC during school hours and elsewhere;

h. Permitting Juvenile Perpetrator #2 to abuse a minor student/cadet on the
premises of VFMAC during school hours and elsewhere;

i. Permitting Juvenile Perpetrator #3 to abuse a minor student/cadet on the
premises of VFMAC during school hours and elsewhere;

j. Permitting Juvenile Perpetrator #4 to abuse a minor student/cadet on the
premises of VFMAC during school hours and elsewhere;

k. Permitting Juvenile Perpetrators #1-4 to violate Pennsylvania criminal
statutes

l. Failing to properly and adequately supervise and discipline its employees
to prevent the abuse that occurred to Plaintiff;

m. Failing to adopt, enforce and/or follow adequate policies and procedures for
the protection and reasonable supervision of children who attend VFMAC,
including Plaintiff, and, in the alternative, failing to implement and comply
with such procedures which had been adopted;

n. Failing to implement, enforce and/or follow adequate protective and
supervisory measures for the protection of students at VFMAC, including
Plaintiff;

o. Creating an environment that facilitated abuse on Plaintiff;

p. Failing to adopt, enforce and/or follow policies and procedures to protect
minors against harmful influence and contact by its employees and
Participants including Col. John J. Church, Jr., Sandra Young and others

q. Breaching the duties imposed by Restatement (Second) of Torts § 324A,
as adopted in Pennsylvania;

r. Failing to warn Plaintiff of the risk of harm posed by Juvenile Perpetrators
#1-4 and others after Defendants knew or should have known of such risk;

s. Failing to provide Plaintiff with any assistance in coping with the injuries
sustained;

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t. Violation of duties imposed by Restatement (Second) of Agency § 213 and
Restatement (Second) of Torts § 317, as adopted in Pennsylvania;

u. Failing to warn Plaintiff of the risk of harm that Plaintiff may suffer as a
result of further contact with Juvenile Perpetrator #1-4 and others

v. Failing to warn or otherwise make reasonably safe the property which
Defendants possessed and/or controlled, leading to the harm of Plaintiff;

w. Failing to adopt/implement and/or enforce policies and procedures for the
reporting to law enforcement, Office of Children and Youth, or other
authorities within VFMAC and/or other external and independent
authorities of harmful acts to children;

x. Failing to report luvenile Perpetrators #1-4, and others harmful acts to
authorities within VFMAC and/or other authorities

y. Violating its own policies and/or by-laws regarding child abuse and/or
harassment by staff and/or students

z. Violating the requirements of Pennsylvania’s Child Protective Services
Law, 23 § 6311(a) and (b), constituting negligence per se;

aa. lgnoring concealing or otherwise mitigating the seriousness of the known
danger that Juvenile Perpetrators #1-4, and others posed;

bb. Failing to prevent the repeated and continued abuse that was committed on
Plaintiff;

cc. Failing to properly supervise and/or discipline its employees

dd Failing to adequately and properly train its employees regarding abuse of
students by teachers and/or employees and

ee. Negligently managing and/or operating VFMAC.

72. As a proximate and direct result of Defendants’ negligence and/or reckless conduct

described herein, Plaintiff, John Doe, was harmed as a result and has sustained physical and
emotional injuries embarrassment, mental anguish, pain and suffering and loss of enjoyment of
life and life’s pleasures

73. Plaintiff has been and will likely, into the future, be caused to incur medical
expenses and Plaintiff may likely incur a loss of earning capacity in the future.

74. Defendants knew or should have known about the severe risk of their failure to take
any appropriate precautions outlined above and acted with a reckless disregard for such risk for
which Plaintiff is entitled to and hereby seeks punitive damages pursuant to the requirements of

Pennsylvania law.

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75. Defendants’ actions and failures as described herein are outrageous and were done
recklessly with a conscious disregard of the risk of harm to plaintiff for which Plaintiff is entitled
to and hereby seeks punitive damages

WHEREFORE, Plaintiff, John Doe, demands judgment against Defendants jointly and
severally, in a sum in excess of Fifty Thousand ($50,000.00) Dollars and in excess of the
prevailing arbitration limits in compensatory damages and punitive damages exclusive of pre-
judgment interest, post-judgment interests and costs

COUNT II - NEGLIGENT AND INTENTIONAL
INFLICTION OF EMOTIONAL DISTRESS
Plaintiff v. All Defendants

76. Plaintiff incorporates herein by reference all of the allegations contained in
paragraphs 1 through 75 and throughout this entire complaint as though same were fully set forth
herein at length.

77. Defendants by and through their contact with Plaintiff, as described above,
negligently, recklessly and/or intentionally committed multiple acts of extreme and outrageous
conduct which caused severe emotional, psychological, and psychiatric injuries distress and harm
to Plaintiff, which also manifested in physical injuries to Plaintiff as set forth above, in an extreme,
outrageous and harmful manner.

WHEREFORE, Plaintiff, John Doe, demands judgment against Defendants jointly and
severally, in a sum in excess of Fifty Thousand ($50,000.00) Dollars and in excess of the
prevailing arbitration limits in compensatory damages and punitive damages exclusive of pre-

judgment interest, post-judgment interests and costs

COUNT III -NEGLIGENT FAILURE TO RESCUE
Plaintiff v. All Defendants

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78. Plaintiff incorporates herein by reference all of the allegations contained in
paragraphs 1 through 77 and throughout this complaint as though same were fully set forth herein

at length.

79. The negligence and recklessness of Defendants in directly and proximately causing
the injuries and damages to Plaintiff described herein, include:

a. failing to take reasonable and necessary steps to rescue the Plaintiff after
placing her in a perilous position;

b. failing to exercise reasonable and necessary steps to prevent further harm
after rendering the Plaintiff in danger of further harm;

c. failing to take reasonable and necessary steps to give aid or assistance to the
Plaintiff after rendering her in danger of further harm;

d failing to take reasonable steps to obtain aid or assistance for the Plaintiff
after rendering her in danger of further harm;

e. failing to take reasonable and necessary steps to prevent the delay in the
appropriate care of the Plaintiff;

f. violation of the duties set forth in Restatement (Second) of Torts Sections
314A & 322, as adopted in Pennsylvania

80. As a proximate and direct result of Defendants’ breaches described in the preceding
paragraph, Plaintiff sustained psychological and physical harms and injuries as described above.

81. Tl‘e aforementioned incidents resulted from the negligence, recklessness and/or
intentional acts of Defendants and was due in no manner whatsoever to any act or failure to act on
part of Plaintiff.

WHEREFORE, Plaintiff, John Doe, demands judgment against Defendants jointly and
severally, in a sum in excess of Fifty Thousand ($50,000.00) Dollars and in excess of the
prevailing arbitration limits in compensatory damages and punitive damages exclusive of pre-
judgment interest, post-judgment interests and costs

COUNT IV -NEGLIGENCE PER SE
FAILURE TO REPORT SUSPECTED CHILD ABUSE IN VIOLATION ()F

THE PENNSYLVANIA CHILD PROTECTIVE SERVICES LAW (PCPSL)
Plaintiff v. All Defendants

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82. Plaintiff incorporates herein by reference all of the allegations contained in
paragraphs l through 81 and throughout this complaint as though same were fully set forth herein
at length.

83. Defendants knew, had knowledge or had reasonable suspicion of harmful acts being
committed by cadets on Plaintiff and negligently, recklessly and/or intentionally violated their
statutory duty to report such abuse as required by Pennsylvania’s Child Protective Services law
(PCPSL), 23 § 6311(a) and (b) et. seq.

84. Defendants’ violations constitute negligence per se under Pennsylvania law.

85. Defendants’ negligent, reckless and/or intentional failure to report such harmful
acts allowed cadets to continually physically and sexually abuse Plaintiff.

86. Such failure on part of Defendants was reckless intentional, knowing grossly
negligent, deliberately and recklessly indifferent, outrageous malicious and/or was a reckless and
conscious disregard for the safety of Plaintiff.

WHEREFORE, Plaintiff, John Doe, demands judgment against Defendant, Valley Forge
Military Academy and College, in a sum in excess of Fifty Thousand ($50,000.00) Dollars and in
excess of the prevailing arbitration limits in compensatory damages and punitive damages
exclusive of pre-judgment interest, post-judgment interests and costs

Punitive Damages

87. A jury will no doubt award punitive damages against VFMAC for consciously
disregarding the safety of children for years so as to protect its own reputation Punitive damages
are appropriate where the plaintiff has established that the defendant acted outrageously, with an
evil motive or reckless indifference to the rights of others Feld v. Merriam, 485 A.2d 742 (Pa.

1984). Punitive damages are awarded to punish a defendant for certain outrageous acts and to deter

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lit] from engaging in similar conduct. G.J.D. v. lohnson, 552 Pa. 169, 713 A.2d 1127, 1131 (Pa.

1998). VFMAC allowed continued and repeated abuse to occur within the dormitories and

elsewhere and covered up same, choosing not to report it to parents law enforcement or others

failed to sufficiently discipline employees/students allowed the employees of VFMAC to make

false statements to the media concerning the circumstances surrounding a history of assaults all

the while knowing said statements were false, refused to retract said statements or issue a statement

containing the truth of the matter knowing that John Doe may continue to be the subject of ridicule,

harassment and abuse as a result. lf there was ever a case of reckless disregard for the safety of

children, it is this one.

WHEREFORE, Plaintiff, John Doe, demands judgment against Defendant, Valley Forge

Military Academy and College, in a sum in excess of Fifty Thousand ($50,000.00) Dollars and in

excess of the prevailing arbitration limits in compensatory damages and punitive damages

exclusive of pre-judgment interest, post-judgment interests and costs

Date: April 17, 2019

BY:

 

 

BRIAN D. KENT, ESQUIRE
GAETANO D’ANDREA, ESQUIRE
M. STEWART RYAN, ESQUIRE
Attorneys for Plaintiff, John Doe

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VERIFICATION
I, John Doe, hereby state that l am the Plaintiff in the foregoing lawsuit, and verify that the
statements made in the foregoing Plaintiff’s Complaint are true and correct to the best of my
knowledge, information and belief, and I understand that the statements in said pleading are made

subject to the penalties of 18 Pa. C.S.A. § 4904 relatin to unsworn falsification to authorities

attain

 

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